        Case 4:04-cr-00249-JM         Document 441        Filed 08/11/08    Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS



UNITED STATES OF AMERICA

V.                                                                 4:04CR00249-07 JMM

CHRISTY R. PICKENS



                                   AMENDED JUDGMENT

       The Motion to Amend Restitution (Docket # 440) is GRANTED. The Judgment entered

on March 13, 2007 is amended as stated in the Motion with respect to Account 26. The

Judgment shall reflect a total restitution amount of $34,534.21. This amount shall remain joint

and several with the defendants listed in the original Judgment.

       IT IS SO ORDERED this 11th day of August, 2008.



                                                            ______________________________
                                                            James M. Moody
                                                            United States District Judge
